Case No. 1:20-cr-00305-DDD Document 250-1 filed 08/23/22 USDC Colorado pg 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. MICHAEL AARON TEW; and

 2. KIMBERLEY ANN TEW a/k/a
    Kimberley Vertanen,

        Defendants.


                        DECLARATION OF MICHAEL A. TEW

        Michael A. Tew, hereby makes the following declaration:
        1.     I make this declaration in connection with the motion pending before this
 Court for a Franks v. Delaware hearing.
        2.     In making this declaration, I am relying on the Simmons doctrine that
 what I say cannot be used at trial to establish my guilt.
        3.     Based on discovery provided by the Government in this case, it had
 evidence that Jonathan Yioulos embezzled funds from National Air Cargo before August
 of 2018.
        4.     Jonathan Yioulos’s motivation for paying me money was that I was owed
 money from National Air Cargo (“NAC”) and because he wanted to help my family
 when we were being extorted by Craig Feigin and Christian Rincon.
        5.     I never threatened Jonathan Yioulos with a loss of employment if he
 refused to send money.
Case No. 1:20-cr-00305-DDD Document 250-1 filed 08/23/22 USDC Colorado pg 2 of 2




        6.    Jonathan Yioulos told me that he did not want to communicate with my
 wife and only wanted to talk to me after December of 2018.
        7.    I had bank deposits that came to me from work that I did for clients.
        8.    NAC did not have a system of approving or not approving vendors and
 there was no list by which one could match invoices with approved vendors.
        9.    Payments via ACH did not need dual authorization approval and could be
 submitted and paid by Jonathan Yioulos alone.
        10.   Jonathan Yioulos received more than a few Bitcoin.
        11.   I never suggested to Yioulos to use unapproved vendor companies for
 invoices to NAC.
        12.   National Air Cargo, Inc. is not a Florida corporation.
        I declare and certify under penalty of perjury that the foregoing is true and
 correct.
                                    23rd day of August 2022.
        Dated and executed on this _____


                                                 DECLARANT:


                                                 __________________________
                                                 Michael A. Tew




                                            2
